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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., et al.                     )
                                               )
        Plaintiffs                             )
                                               )
            v.                                 )        Cause No. 1:21-cv-00445-CJN
                                               )            Judge Carl J. Nichols
 MY PILLOW, INC., and                          )
 MICHAEL J. LINDELL,                           )
                                               )
        Defendants.                            )

                              MY PILLOW, INC.’S
                       NOTICE IN LIEU OF FILING ANSWER

        PLEASE TAKE NOTICE that Defendant My Pillow, Inc. (“MyPillow”)

respectfully reserves the right to withhold its Answer until after (a) this Court’s ruling on

MyPillow’s Motion for Modification of Memorandum Opinion and Order (ECF #58) and

(b) the Court of Appeals’ further action pursuant to MyPillow’s Notice of Appeal (ECF

#64).

        The Court of Appeals has docketed the appeal and fixed deadlines for the filing of

motions and other mandatory submissions. Court of Appeals for the District of Columbia

Circuit Case No. 21-7103, Doc. #1914267.

        MyPillow’s Answer is premature if the Court of Appeals now considers and decides

whether to reverse this Court’s denial of MyPillow’s Motion To Dismiss. Nonetheless,

MyPillow will file an Answer if this Court orders MyPillow to do so while issues relating

to the appeal are pending.

        MyPillow will respond to Dominion’s Opposition to Defendants’ Motion (ECF#72)
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and will await this Court’s decision on MyPillow’s Motion without prejudice or waiver of

the principle that “[t]he filing of a notice of appeal . . . confers jurisdiction on the court of

appeals and divests the district court of its control over those aspects of the case involved

in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982).



Dated: September 23, 2021


 LEWIN & LEWIN, LLP                                PARKER DANIELS KIBORT LLC

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